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UNITED STATES BANKRUPTCY COURT
Southern District of Texas
PDF FILE WITH AUDIO FILE ATTACHMENT

      2023-00645
      Professional Fee Matters Concerning the Jackson Walker Law Firm
      Electronic Non-Evidentiary Status Conference - Doc. 20




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      Case Number :                  2023-00645
      Case Title :                   Professional Fee Matters Concerning the Jackson Walker Law Firm

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